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 5 Attorney for:
   MARK COP
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 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                     EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             CASE NO. CRS 14-055-GEB

11                                    Plaintiff,           STIPULATION REGARDING EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                            v.                           [PROPOSED] FINDINGS AND ORDER TO
                                                           CONTINUE CASE TO 8/15/14 AT 9:00 A.M.
13   MARK COP,
     ERIC COP
14   JOHN LEITHMAN,
                                      Defendants
15

16                                                   STIPULATION

17          Plaintiff United States of America, by and through their counsel of record, MICHAEL MCCOY,

18 and Defendant Mark Cop, represented by Attorney Dina Santos; Defendant Eric Cop, represented by

19 Assistant Federal Defender Rachelle Barbour; Defendant John Leithman, represented by Attorney Orien

20 Nelson; hereby stipulate as follows:

21          1.      By previous order, this matter was set for status on May 16, 2014.

22          2.      By this stipulation, defendant now moves to continue the status conference until August

23 15, 2014, and to exclude time between May 16, 2014, and August 15, 2014, under Local Code T4.

24 Plaintiff does not oppose this request.

25          3.      The parties agree and stipulate, and request that the Court find the following:

26                  a)       Counsel for defendants desire additional time to review discovery, conduct

27          investigation, consult with the respective clients, and to otherwise prepare for trial.

28                  b)       Counsel for defendants believe that failure to grant the above-requested

      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
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                 Case 2:14-cr-00055-JAM Document 46 Filed 05/15/14 Page 2 of 3


 1          continuance would deny them the reasonable time necessary for effective preparation, taking into

 2          account the exercise of due diligence.

 3                  c)       The government does not object to the continuance.

 4                  d)       Based on the above-stated findings, the ends of justice served by continuing the

 5          case as requested outweigh the interest of the public and the defendant in a trial within the

 6          original date prescribed by the Speedy Trial Act.

 7                  e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8          et seq., within which trial must commence, the time period of May 16, 2013, to August 15, 2014,

 9          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

10          because it results from a continuance granted by the Court at defendant’s request on the basis of

11          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

12          of the public and the defendant in a speedy trial.

13          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

14 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

15 must commence.

16

17          IT IS SO STIPULATED.

18 Dated: May 13, 2014                                         BENJAMIN B. WAGNER
                                                               United States Attorney
19

20                                                             /s/ Michael McCoy
                                                               MICHAEL MCCOY
21                                                             Assistant United States Attorney

22 Dated: May 13, 2014                                     /s/ Rachelle Barbour
                                                           Assistant Federal Defender
23                                                         Attorney for Eric Cop

24
     Dated: May 9, 2014                                        /s/ Dina L. Santos
25                                                             DINA SANTOS, ESQ.
                                                               Attorney for Mark Cop
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      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
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 1 Dated: May 13, 2014                                       /s/ Orien Nelson
                                                             ORIEN NELSON, ESQ.
 2                                                           Attorney for John Leithman
 3
                                                           ORDER
 4
            IT IS SO FOUND AND ORDERED.
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     Dated: May 15, 2014
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      Stip. & [Proposed] Order Continuing Status Conf. &     3
      Excluding Time Periods Under Speedy Trial Act
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